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 Proposed Counsel to the Official Committee of
 Unsecured Creditors

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                     )
 In re:                                              ) Chapter 11
                                                     )
 HVI CAT CANYON, INC.                                ) Case No. 19-32857-hdh11
                                                     )
                            Debtor.                  )
                                                     )

                            NOTICE OF APPEARANCE AND REQUEST
                        FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

          PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”), a party in interest in the case of the above-captioned debtor, hereby appears by their

proposed counsel, Pachulski Stang Ziehl & Jones LLP (“PSZJ”) and Cole Schotz P.C. (“Schotz”,

and together with PSZJ, “Counsel”).              Counsel hereby enters their appearance pursuant to

section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9010(b)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests that the

undersigned be added to the official mailing matrix and service lists in the above-captioned case.

Counsel requests, pursuant to Bankruptcy Rules 2002, 3017, and 9007 and section 1109(b) of the


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Bankruptcy Code, that copies of all notices and pleadings given or required to be given in this

chapter 11 case and copies of all papers served or required to be served in this chapter 11 case,

including but not limited to, all notices (including those required by Bankruptcy Rule 2002),

reports, pleadings, motions, applications, lists, schedules, statements, chapter 11 plans, disclosure

statements, and all other matters arising herein or in any related adversary proceeding, be given

and served upon the Committee through service upon Counsel, at the addresses, telephone,

facsimile numbers, and email addresses set forth below:

 Robert J. Feinstein, Esquire                         Jeffrey N. Pomerantz, Esquire
 Steven W. Golden, Esquire                            Maxim B. Litvak, Esquire
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         PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of any

application, complaint or demand, motion, petition, pleading or request, and answering or reply

papers filed in this chapter 11 case, whether formal or informal, written or oral, and whether served,




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transmitted, or conveyed by mail, hand delivery, telephone, telegraph, telex, or otherwise filed or

made with regard to the above-captioned case and proceedings therein.


Dated: August 29, 2019                         Respectfully submitted,


                                             /s/Michael D. Warner
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                                             Proposed Counsel to the Official Committee of
                                             Unsecured Creditors

                                CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 29th day of August, 2019, I caused a true and correct
copy of the foregoing pleading to be served upon all parties that are registered to receive electronic
service through the court’s CM/ECF notice system in the above case.


                                                       /s/ Michael D. Warner
                                                       Michael D. Warner


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